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                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         17-10337 J                                                                 Trustee: (510150)           Clarke C. Coll
Case Name:           BROPHY, THOMAS JOSEPH, JR.                                                 Filed (f) or Converted (c): 02/16/17 (f)
                     BROPHY, VIRGINIA RUTH                                                      §341(a) Meeting Date:       03/28/17
Period Ending:       03/31/19                                                                   Claims Bar Date:            07/03/17

                                1                                            2                         3                          4                  5                    6

                       Asset Description                                  Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                           Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                           and Other Costs)                                                Remaining Assets

 1       4391 Organ Mesa Loop, Las Cruces, NM 88011-0000,                 512,000.00                            0.00                                     0.00                    FA
           Imported from original petition Doc# 1

 2       107 Red Mountain Ct., Patagonia, AZ 85624-0000,                    90,000.00                      90,000.00                                     0.00             30,000.00
           Imported from original petition Doc# 1 (See Footnote)

 3       Cash                                                                    900.00                         0.00                                     0.00                    FA
          Imported from original petition Doc# 1

 4       checking: Citizen's Bank of Las Cruces                                  140.00                         0.00                                     0.00                    FA
           Imported from original petition Doc# 1
 5       checking: Compass Bank (BBVA)                                       5,100.00                           0.00                                     0.00                    FA
           Imported from original petition Doc# 1

 6       checking: Bank of Ireland ***eur 914.77                                 973.16                         0.00                                     0.00                    FA
           Imported from original petition Doc# 1

 7       Public Utilities: Mesilla Valley Trash                                  272.00                         0.00                                     0.00                    FA
          Imported from original petition Doc# 1

 8       Household furniture: livingroom & bedroom furnit                    5,000.00                           0.00                                     0.00                    FA
          Imported from original petition Doc# 1

 9       Electroncis: 2 TVs, DVD player, computer, iPad L                    1,000.00                           0.00                                     0.00                    FA
           Imported from original petition Doc# 1

10       Clothing Location: 4391 Organ Mesa Loop, Las Cru                        400.00                         0.00                                     0.00                    FA
           Imported from original petition Doc# 1

11       Jewelry: 5 gold chains, 4 gold braclets, platinu                   15,500.00                           0.00                                     0.00                    FA
           Imported from original petition Doc# 1

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                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
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            (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                            Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                             and Other Costs)                                                Remaining Assets

12       IRA: Vanguard                                                       663,272.44                           0.00                                      0.00                   FA
           Imported from original petition Doc# 1

13       IRA: Vanguard RMD                                                    18,737.18                           0.00                                      0.00                   FA
           Imported from original petition Doc# 1

14       IRA: Vanguard Revocable Trust                                               0.00                         0.00                                      0.00                   FA
           Imported from original petition Doc# 1

15       Anticipated tax refund 2016: Federal & State                          4,800.00                           0.00                                      0.00                   FA
          Imported from original petition Doc# 1
16       American Express credit card credits Hyatt Visa                           350.00                         0.00                                      0.00                   FA
          Imported from original petition Doc# 1

17       2016 Chrysler 300, 12000 miles. Entire property                      18,745.00                           0.00                                      0.00                   FA
           Imported from original petition Doc# 1

17       Assets           Totals (Excluding unknown values)              $1,337,189.78                     $90,000.00                                      $0.00          $30,000.00

     RE PROP# 2          Listing Expired in February 2019 and Trustee is pursuing sale of this asset via auction and
                        anticipates an auction in May or June 2019.
                        Trustee began listing property for sale at $85,000 and is reducing price by $5k per quarter until
                        property gets traction to sell. Trustee will obtain listing info on property from Debtors and
                        pursue sale of asset


     Major Activities Affecting Case Closing:
              February 2019- Listing expired and Trustee pursing auction of property
              July 2018-Reduced listing price on property to $50,000.
              April 2018-Lowered Listing price to $55,000.
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                                                                          Values            Less Liens, Exemptions,       OA=§554(a) abandon.          the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                       Remaining Assets

            February 2018- Trustee renewed listing on AZ property and continues to market to sell property
            August 2017-Trustee authorizes listing reduction by $5k every two months until gain market interest in property.
            June 2017-Trustee pursued employment of Realtor to list and sell Arizona property
            Debtors own non-exempt real property located in Arizona and Trustee will pursue investigation as to value and listing with realtor etc.

    Initial Projected Date Of Final Report (TFR): December 31, 2018                         Current Projected Date Of Final Report (TFR): December 1, 2019




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